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 1   Craig A. Hansen (CA Bar No. 209622)          EDWARD HAN (SB# 196924)
      Email: craig@hansenlawfirm.net              edwardhan@paulhastings.com
 2   Stephen C. Holmes (CA Bar No. 200727)        JESSICA E. MENDELSON (SB# 280388)
      Email: steve@hansenlawfirm.net              jessicamendelson@paulhastings.com
 3   Philip E. Yeager (CA Bar No. 265939)         PAUL HASTINGS LLP
      Email: phil@hansenlawfirm.net               1117 S. California Avenue
 4   Collin D. Greene (CA Bar No. 326548)         Palo Alto, California 94304
      Email: collin@hansenlawfirm.net             Telephone: (650) 320-1800
 5   HANSEN LAW FIRM, P.C.                        Facsimile: (650) 320-1900
     75 E. Santa Clara Street, Suite 1150
 6   San Jose, CA 95113-1837                      JENNIFER BALDOCCHI (SB#168945)
     Telephone: (408) 715 7980                    jenniferbaldocchi@paulhastings.com
 7   Facsimile: (408) 715 7001                    TIMOTHY D. REYNOLDS (SB# 274589)
                                                  timothyreynolds@paulhastings.com
 8   Attorneys for Plaintiffs                     PAUL HASTINGS LLP
     Temujin Labs Inc., a Delaware corporation,   515 South Flower Street, 25th Floor
 9   and Temujin Labs Inc., a Cayman Islands      Los Angeles, California 90071
     corporation.                                 Telephone: (213) 683-6000
10                                                Facsimile: (213) 627-0705

11                                                Attorneys for Defendants
                                                  Translucence Research, Inc., Benjamin Fisch,
12                                                Charles Lu, Nathan McCarty, Benedikt Bünz,
                                                  and Binyi Chen
13

14                              UNITED STATES DISTRICT COURT

15                          NORTHERN DISTRICT OF CALIFORNIA

16
     TEMUJIN LABS INC., a Delaware                CASE NO.: 5:21-CV-09152-NC
17   corporation, and TEMUJIN LABS INC., a
     Cayman Islands corporation,                  STIPULATION AND JOINT REQUEST TO
18                                                CONTINUE CASE MANAGEMENT
                       Plaintiffs,                CONFERENCE AND RELATED
19                                                DEADLINES; MODIFIED ORDER
            v.
20                                                Courtroom: Courtroom 5 – 4th Floor
     TRANSLUCENCE RESEARCH, INC., a               Judge: Hon. Nathanael Cousins
21   Delaware corporation, BENJAMIN
     FISCH, CHARLES LU, BENEDIKT                  Complaint Filed: November 24, 2021
22   BÜNZ, NATHAN MCCARTY,
     FERNANDO KRELL, PHILIPPE
23   CAMACHO CORTINA, BINYI CHEN,
     AND LUOYUAN (ALEX) XIONG, and
24   DOES 1-20, inclusive,

25                     Defendants.

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     STIPULATION TO CONTINUE CMC
        Case 5:21-cv-09152-NC Document 57 Filed 11/16/22 Page 2 of 6



 1          Pursuant to Civil Local Rules 6-1 and 6-2, Plaintiffs Temujin Labs Inc. (Delaware) and

 2   Temujin Labs Inc. (Cayman) and Defendants Translucence Research, Inc., Benjamin Fisch,

 3   Charles Lu, Nathan McCarty, Benedikt Bünz, and Binyi Chen (collectively “Parties”) hereby

 4   stipulate and request as follows:

 5                                               RECITALS

 6          WHEREAS, the Parties requested and the Court entered an order on March 16, 2022

 7   continuing the Initial Case Management Conference to June 14, 2022 (“Order Continuing CMC”)

 8   (Dkt. No. 21);

 9          WHEREAS, Defendants Translucence Research, Inc., Charles Lu, Benjamin Fisch, and

10   Nathan McCarty timely filed a Motion to Dismiss the Complaint, or in the Alternative, to Stay

11   Case on March 18, 2022 (“Motion to Dismiss/Stay”) (Dkt. No. 26);

12          WHEREAS, the Court determined that the Motion to Dismiss/Stay was suitable for

13   disposition without oral argument and took the hearing off calendar on May 17, 2022 (Dkt. No.

14   39);

15          WHEREAS, the Parties requested and the Court entered an order on May 24, 2022

16   continuing the Initial Case Management Conference to October 18, 2022 (Dkt. No. 41);

17          WHEREAS, on October 11, 2022, the Court issued an Order that vacated the Case

18   Management Conference set for October 18, 2022 and ordered the Parties to meet and confer to

19   discuss whether they consent to having Magistrate Judge Cousins preside over this case. (Dkt.

20   No. 46). The Court further ordered that if the Parties do consent, “they shall file a stipulation and
21   proposed order within seven days of the date of this order.” (Id.)

22          WHEREAS, the Parties consented to have Magistrate Judge Cousins preside over this

23   case and the Court reassigned the case to Magistrate Judge Cousins on October 21, 2022. (Dkt.

24   No. 50).

25          WHEREAS, the Clerk set the Case Management Conference for November 30, 2022 and

26   ordered a Joint Case Management Conference Statement to be filed by November 23, 2022. (Dkt.
27   No. 51).

28          WHEREAS, Defendants’ Motion to Dismiss/Stay was set for hearing on January 4, 2023

      STIPULATION TO CONTINUE CMC                       1                  Case No.: 5:21-CV-09152-NC
          Case 5:21-cv-09152-NC Document 57 Filed 11/16/22 Page 3 of 6



 1   at 1:00 P.M. (Dkt. Nos. 52-53).

 2          WHEREAS, lead counsel for Plaintiffs is supposed to be in day 3 of a trial scheduled to

 3   start on November 28, 2022. Hansen Decl. ¶ 2. Pursuant to Civil Local Rule 16-10(a), lead trial

 4   counsel for each party must attend the initial Case Management Conference.

 5          WHEREAS, the Parties recognize that holding the Case Management Conference or

 6   requiring the Parties to meet the other deadlines related thereto while the Motion to Dismiss is

 7   pending is inefficient and may unnecessarily waste judicial and party resources, and respectfully

 8   request that the Court enter an order confirming the terms of the stipulation as set forth below.

 9   The Parties do not believe the requested time modification will have an effect on the schedule for

10   the case as no trial date has been set and no discovery has been served in this action.

11          NOW THEREFORE THE PARTIES STIPULATE AND REQUEST AS FOLLOWS:

12          1.      The November 30, 2022 Case Management Conference shall be continued until

13   thirty (30) days after the Court’s decision concerning the Motion to Dismiss.

14          2.      All other deadlines related to the November 30, 2022 Case Management

15   Conference hearing shall be continued to correspond to any newly set Case Management

16   Conference. The Parties shall meet and confer to set reasonable dates that correspond to such

17   newly set Case Management Conference.

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      STIPULATION TO CONTINUE CMC                       2                 Case No.: 5:21-CV-09152-NC
        Case 5:21-cv-09152-NC Document 57 Filed 11/16/22 Page 4 of 6



 1    DATED: November 16, 2022             HANSEN LAW FIRM, P.C.

 2                                         By:                    /s/ Craig A. Hansen
                                                                      CRAIG A. HANSEN
 3
                                           Attorneys for Plaintiffs
 4                                         Temujin Labs Inc., a Delaware corporation, and Temujin
                                           Labs Inc., a Cayman Islands corporation
 5
      DATED: November 16, 2022
 6                                         PAUL HASTINGS LLP
 7                                         By:                    /s/ Edward Han
                                                                       EDWARD HAN
 8
                                           Attorneys for Defendants
 9                                         Translucence Research, Inc., Benjamin Fisch, Charles
                                           Lu, Nathan McCarty, Benedikt Bünz, and Binyi Chen
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12                                        ORDER
13           The Case Management Conference set for November 20, 2022, is continued to
14
     February 1, 2023, at 10:00 a.m. by telephone. Joint case management statement due January 25,
15   2023.
                              November 2022.
                   16 day of ___________,
     Entered this ___
16                                                                S DISTRICT
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18                                                              RANTE Cousins
                                                         Hon. GNathanael
                                                         United States Magistrate Judge
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      STIPULATION TO CONTINUE CMC                   3                           Case No.: 5:21-CV-09152-NC
       Case 5:21-cv-09152-NC Document 57 Filed 11/16/22 Page 5 of 6



 1   Craig A. Hansen (CA Bar No. 209622)
      Email: craig@hansenlawfirm.net
 2   Stephen C. Holmes (CA Bar No. 200727)
      Email: steve@hansenlawfirm.net
 3   Philip E. Yeager (CA Bar No. 265939)
      Email: phil@hansenlawfirm.net
 4   Collin D. Greene (CA Bar No. 326548)
      Email: collin@hansenlawfirm.net
 5   HANSEN LAW FIRM, P.C.
     75 E. Santa Clara Street, Suite 1150
 6   San Jose, CA 95113-1837
     Telephone: (408) 715 7980
 7   Facsimile: (408) 715 7001

 8   Attorneys for Plaintiffs
     Temujin Labs Inc., a Delaware corporation, and
 9   Temujin Labs Inc., a Cayman Islands corporation.

10
                                 UNITED STATES DISTRICT COURT
11
                              NORTHERN DISTRICT OF CALIFORNIA
12

13   TEMUJIN LABS INC., a Delaware                     CASE NO.: 5:21-CV-09152-NC
     corporation, and TEMUJIN LABS INC., a
14   Cayman Islands corporation,                       DECLARATION OF CRAIG A. HANSEN
                                                       IN SUPPORT OF STIPULATION AND
15                      Plaintiffs,                    JOINT REQUEST TO CONTINUE CASE
                                                       MANAGEMENT CONFERENCE AND
16          v.                                         RELATED DEADLINES;
                                                       [PROPOSED] ORDER
17   TRANSLUCENCE RESEARCH, INC.,
     a Delaware corporation, BENJAMIN                  Courtroom: Courtroom 5 – 4th Floor
18   FISCH, CHARLES LU, BENEDIKT                       Judge: Hon. Nathanael Cousins
     BÜNZ, NATHAN MCCARTY,
19   FERNANDO KRELL, PHILIPPE                          Complaint Filed: November 24, 2021
     CAMACHO CORTINA, BINYI CHEN,
20   AND LUOYUAN (ALEX) XIONG, and
     DOES 1-20, inclusive,
21
                        Defendants.
22

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     DECL. OF CRAIG A. HANSEN ISO OF STIPULATION TO CONTINUE CMC
        Case 5:21-cv-09152-NC Document 57 Filed 11/16/22 Page 6 of 6



 1          I, Craig A. Hansen, declare as follows:

 2          1.        I am the managing attorney of the Hansen Law Firm P.C. (“HLF”), counsel for

 3   Plaintiffs Temujin Labs, Inc., a Cayman Islands corporation, and Temujin Labs, Inc., a Delaware

 4   corporation (collectively, “Plaintiffs”). I have personal knowledge of the matters stated in this

 5   Declaration and, if called upon as a witness, would competently testify to them.

 6          2.        I am supposed to be in day 3 of a trial scheduled to start on November 28, 2022 in

 7   Santa Clara County Superior Court. The Case Management Conference in this matter is set for

 8   November 30, 2022.

 9          3.        HLF and counsel for Defendants have met and conferred and agreed: (1) to

10   continue the Case Management Conference from November 30, 2022 until thirty (30) days after

11   the Court’s decision concerning the Motion to Dismiss the Complaint, or in the Alternative, to

12   Stay Case (Dkt. No. 26) filed by Defendants Translucence Research, Inc., Charles Lu, Benjamin

13   Fisch, and Nathan McCarty; and (2) All other deadlines related to the November 30, 2022 Case

14   Management Conference hearing shall be continued to correspond to any newly set Case

15   Management Conference.

16          4.        I do not believe that the requested time modification would have a prejudicial

17   effect on the schedule for the case. Trial has not been set in the case, and no discovery has been

18   conducted yet.

19          I declare under penalty of perjury under the laws of the United States of America that the

20   foregoing statements are true and correct to the best of my knowledge and belief, and that this
21   Declaration was signed in Los Altos Hills, California on November 16, 2022.

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23                                                  ___________________________________

24                                                                 Craig A. Hansen

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      DECL. OF CRAIG A. HANSEN ISO OF STIPULATION       1
      TO CONTINUE CMC
